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                        EXHIBIT E
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                                                                                                      USOO7657531B2


      (12) United States Patent                                                 (10) Patent No.:                      US 7,657,531 B2
             Bisbee et al.                                                      (45) Date of Patent:                            Feb. 2, 2010
      (54) SYSTEMS AND METHODS FOR STATE-LESS                                       5,590,199 A        12/1996 Krajewski, Jr. et al.
              AUTHENTICATION                                                        5,615,268 A         3, 1997 Bisbee et al.
                                                                                    5,655,077 A         8, 1997 Jones et al.
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                           Baltimore, MD (US) 21212; Jack J.
                           Moskowitz, 4623 Autumn Woods Way,                        5,689,638 A        1 1/1997 Sadovsky
                           Ellicott City, MD (US) 21043; Keith F.                   5,719,941 A         2f1998 Swift et al.
                           Becker, 1212 Swanhill Ct., Baltimore,                    5,748,738 A         5/1998 Bisbee et al.
                           MD (US) 21226; Ellis K. Peterson, 288                    5,757,920 A         5/1998 Misra et al.
                           Waycross Way, Arnold, MD (US) 21012:                     5,768,504 A         6/1998 Kells et al.
                           Gordon W. Twaddell, 310 Linden Shade
                           Ct. Millersville, MD (US) 21108                          5,774,650 A         6/1998 Chapman et al.

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                           patent is extended or adjusted under 35
                           U.S.C. 154(b) by 217 days.                                                     (Continued)
      (21) Appl. No.: 11/325,463                                                                   OTHER PUBLICATIONS

      (22) Filed:          Jan. 5, 2006                                      Suan-Suan Chew et al., IAuth: An authentication system for Internet
                                                                             applications, Aug. 13-15, 1997, IEEE, 654-659.*
      (65)                    Prior Publication Data
                                                                                                      (Continued)
              US 2006/O117O15A1            Jun. 1, 2006
                                                                             Primary Examiner Jean B Fleurantin
                   Related U.S. Application Data                             (74) Attorney, Agent, or Firm Fitch Even Tabin & Flannery
      (63) Continuation of application No. 09/839,551, filed on              (57)                        ABSTRACT
           Apr. 19, 2001, now Pat. No. 7,020,645.
      (51) Int. Cl.
              G06F 7/00               (2006.01)                              Systems and methods for providing user logon and state-less
              G06F 7/30               (2006.01)                              authentication are described in a distributed processing envi
      (52) U.S. Cl. ................................ 707/9; 709/224; 726/4   ronment. Upon an attempted access by a user to an online
      (58) Field of Classification Search ............... 707/1-10,          resource, transaction, or record, a logon component asks the
                  707/100 104.1, 200206: 709/229, 223-225;                   user to Supply a logon ID and a password. The logon compo
                                                         715/743; 726/24     nent verifies the provided information, and upon Successful
           See application file for complete search history.                 identification, a security context is constructed from informa
      (56)                    References Cited
                                                                             tion relevant to the user. The security context is sent to the user
                                                                             and is presented to the system each time the user attempts to
                      U.S. PATENT DOCUMENTS                                  invoke a new resource. Such as a program object, transaction,
                                                                             record, or certified printer avoiding the need for repeated
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                                             / 20
                                  Known Authority        User enrolled by
                                   provides user             System
                                     enrollment           Administrator
                                     information

                                                                                    Application          Logon
                                                                                    Server 232         Component
                                                                                                          234

                                    User receives        approved Courier
                                      password          delivers password                             CryptoAccel :
                                                                                                      -erator 238




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                       O            130



                              Client                          Application       Logon
                           Application                           Server   --> Component
                                                                 124             122



            Fig. 1
           PRIOR ART




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         Known Authority   User enrolled by
          provides user        System
           enrollment       Administrator
           information

                                                             Application        Logon
                                                             Sever 232        Component
                                                                                 234

          User receives    Approved Courier
            p aSSWord      delivers ppassword                                CryptoAccel $.
                                                                             -erator 238




           Fig. 2




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                                                                                           Rules
                                                                                          Database
                                                      -->                                   336
                                                       User ID                                        d
        User enters logon                              Org. ID                                       Stored
        info                 310        / 320 Hashed Password                                   Password

                                     Client                           Application           Logon
                                                                          Sever 332   B Component 334
                                   application
                                                      Security
                                                       Context
                                                     -Ho

                    Fig. 3




                                                       Page |E-5
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              Plaintext
              Header                     Encrypted Security Context (Body)


          Fig. 4a



                           Security                          Algorithm
                           Context                        Identifier & Key
                              D                                 Size


                          Fig. 4b




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                                    Client Request


                      Client                                 Application     Stateless System
                    application                               Server 532       Components
                       520                                                         534

                                      Protected Response

                                      Response
                                                                               Crypto
           Fig. 5                                                            Accelerator
                                                                                 538




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         Security Context                         User Request or Submission (Payload)


         Fig. 6a




                             Security Client Request
                            Context ID Time Counter         Action or Access Request(s)

                        Fig. 6b




        Request
        Counter                                    Return Payload

        Fig. 7




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                                       Enroll User:
                                       Assign ID, PW                      802
                                       Enter D and AuthInfo



                                       Associate Password Hash
                                       with User ID Information           804


                                       Generate PKC Key Pair              806

                                       Share PKC Public Key
                                        Handle                            808


                                        Initiate Secure
                                        Communication Session             8O


                                        Establish Session Encryption
                                        Key                               82


                                        Present Credentials to Logon
                                        Component                         814



                                  Decrypt Credentials and Compute Delta
                                  Time; Compare Credentials to Database          816


                                        Create Security Context and
                                        Provide to User                    88


                                        Submit Request for Access
                                        and Security Context               820


                                        Verify Security Context and
                                        Request for Access                 822
              FIG. 8

                                        Carry out Request and Return
                                        Result                             824




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                                                           US 7,657,531 B2
                                    1.                                                                   2
         SYSTEMIS AND METHODS FOR STATE-LESS                                 A password is one form of identification that may be pre
                   AUTHENTICATION                                         sented to the logon component 122 that authenticates the
                                                                          user's access rights, which may range from simply viewing
        This invention is a continuation of prior U.S. patent appli selected records in the system 120 to performing all transac
     cation. Ser. No. 09/839,551, filed Apr. 19, 2001 now U.S. Pat. 5 tions permitted by the system 120. This kind of secured trans
     7,020,645. This invention relates to authentication of users of action processing is typically “state-full” in that it maintains,
     electronic information and transaction processing systems, in the transaction session, the process state and content of the
     and more specifically to systems and methods for authenti user's logon access information. Different transactions are
     cating users of programs objects in distributed computing typically            implemented in modern distributed, nested, trans
     environments based on negotiated security contexts.               10
                                                                          action processing systems by different program objects, e.g.,
                             BACKGROUND                                   applications or Subroutines, that are substantially indepen
                                                                          dent, even to the extent of executing on different processor
        Many computer and communication systems restrict hardware. For a user to migrate from one secured transaction
     access to authorized users. As typically shown in FIG. 1, a 15 to another, which is often necessary for even simple uses of
     user 110 accesses such a system 120 through a suitable inter today's systems, the user is generally required to logon (i.e.,
     face Such as a computer 130 executing a client application. be authenticated) to each transaction, often with ID's and
     The computer 130 and client application can communicate passwords unique to each transaction. This is because state
     with the system 120 by either a direct connection or via the full systems impose state routing restrictions on users, and
     Internet using a convenient protocol Such as http as illustrated only sessions with particular restrictions can service a given
     by connection 140. In accessing the system 120, the client user without having to close one program object and open
     application recognizes that a user authentication process must another, with the corresponding requisite logon.
     be carried out as a threshold step, and thus the client applica         Besides the burden on system resources imposed by each
     tion usually requests the user 110 to enter a logon ID and a logon, which requires access to and processing by a logon
     password that uniquely identify the user 110 to the system 25 component and a rules database, state-full systems often com
     120. The logon ID and password are conventionally for
     warded to a logon component 122 via an application server pel        or
                                                                              each user to close one secured transaction (program object
                                                                             application) before entering another, limiting the flexibility
     component 124 included in the system 120.
        The logon component 122 compares the logon ID and of the system from the user's perspective. In addition, if the
     password received from the user to an archive of logon IDs 30 path to the rules database is closed or if excessive traffic slows
     and passwords stored in a rules database 126. Upon finding a processing or access to any of the necessary components of
     match with the forwarded logon ID, the logon component 122 the system, the user access to the desired application is com
     retrieves the corresponding password from the rules database promised, even if the user's access is fully authorized. This
     126 and compares the retrieved password with the password becomes a significant problem for systems having many
                                                                          potential users because economics often limits the system
     forwarded by the user 110. If the passwords match, the logon 35 resources
     component 122 sends an instruction or a message via the                         that can be made available.
     application server component 124 to the client application in           Another problem is that conventional enrollment systems
     computer 130 that indicates that the user 110 was properly can be viewed as “open doorways' into an otherwise pro
     identified and authenticated to proceed. This authentication tected application in that a Successful logon provides a user
     step and/or Subsequent instructions or messages may initiate 40 full access to the application and a failed logon 'slams the
     a secure communication session using a convenient protocol door on access to the application. No middle ground is
     such as https indicated by connection 150. Subsequent com generally provided, whereby a properly identified user is
     munication between the system 120 and computer 130 can provided partial access to an application or transaction.
     then proceed in private.                                                Yet another problem with systems like that depicted in FIG.
        Where encryption is employed, a client cryptographic 45 1 is the Vulnerability of such systems to a hacker's or a pirate's
     token Such as an electronic circuit card conforming to the intercepting a user's logon information at any of several
     standards of the PC Memory Card Interface Association (a points and then gaining unauthorized access to a Supposedly
     PCMCIA card or PC Card) can be used in the computer 130.             secure system, such as an online brokerage system. One coun
     In general, a token is a portable transfer device that is used for termeasure to Such interception is the application of cryptog
     transporting keys, or parts of keys. It will be understood that 50 raphy to the data being transmitted. Public-Key Cryptogra
     PC Cards are just one form of delivery mechanism; other phy (PKC), or asymmetric cryptography, is a form of data
     kinds of tokens may also be used, such as those conforming to encryption that uses a pair of cryptographic keys, each pair
     RSA Laboratories' software token Public-Key Cryptography having a public key that is used for encryption and a private
     Standard (PKCS) #12, floppy diskettes, and Smart Cards.              (secret) key used for decryption. Exemplary PKC algorithms,
        If the logon ID provided by the user 110 does not match an 55 which comply with contemporary government or commercial
     ID in the rules database 126 or if the password comparison standards, are the Digital Signature Algorithm and the Rivest
     fails, the logon component 122 typically sends a message or Shamir-Adleman (RSA) algorithm. The alternative to PKC is
     instruction through the application server component 124 to a symmetric key cryptographic system that uses the same key
     the client application to inform the user 110 that the submitted for encryption and decryption. Exemplary symmetric sys
     logon information was incorrect and to prompt the user to 60 tems are the Data Encryption Standard (DES) and its
     re-enter it. This process of entering and attempting to Verify improvement, the Advanced Encryption Standard (AES),
     the logon information may be permitted to occura few times, recently announced by the National Institute of Standards and
     but in the event of repeated failure, the logon component 122 Technology (NIST). Symmetric key cryptography is nor
     may finally reject further logon attempts by the user 110. mally employed for encrypting large amounts of data since it
     direct the client application to inform the user 110 that the 65 is much faster than PKC, but PKC is still advantageously used
     logon process has failed, terminate the communication ses for key distribution. Nevertheless, encrypting transmitted
     Sion, and lock out the user from any further logon attempts.         data may address privacy concerns in electronic commerce



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     and communication, but encryption alone does not address                application that allows the client application system-wide
     the issues of integrity and authentication of the transmitted           logon in a distributed computing environment. One example
     information.                                                            of this is the SITEMINDER software product made by Neteg
        In this application, “privacy means the protection of a rity, Inc., Waltham, Mass., and described at www.netegrity
     record from unauthorized access. “Integrity” means the abil- 5 .com. Such single-logon methods avoid the need for repeated
     ity to detect any alteration of the contents of a record or of the logons, but have severe limitations when used with state-less
     relative authority of a user to perform a transaction or access computing environment components.
     a record. “Authentication” means verification of the authority             U.S. Pat. No. 5,757,920 for “Logon Certification” and No.
     of a user to perform a transaction, use a system resource, or 5.999,711 for “Method and System for Providing Certificates
     access an electronic record. It will be appreciated that “elec- 10 Holding Authentication and Authorization Information for
     tronic record' and “record” mean information in any elec Users/Machines', both to Misra et al., describe logon certifi
     tronic form, regardless of type of medium or type of infor cates that are provided to Support disconnected operation in
     mation. Thus, a record can be a tape cartridge, a Voice distributed computing systems. Each logon certificate is a
     transmission or recording, a video image, a multi-media secure package holding credentials information Sufficient to
     object, a contract, metadata, a database of information, etc. 15 establish the identity and rights and privileges for a user or a
        Integrity and authentication of information are typically machine in a domain that is not the users/machine’s home
     handled by other cryptographic operations, in particular domain.
     hashing the information to be protected and appending one or               U.S. Pat. No. 5,241,594 to Kung for “One-Time Logon
     more digital signatures. In general, a one-way cryptographic Means and Methods for Distributed Computing Systems’
     function operates on the information and produces a "hash' 20 describes storing password files in all networked computers
     or “message digest in a way Such that any change of the in a distributed system and, after a user logs on to a computer,
     information produces a changed message digest. Since a dif forwarding authentication information to a second computer
     ferent message digest is produced if even one bit of the using a secure transport layer protocol if the user wishes to
     information object is changed, the hash operation yields a use services at the second computer. The second computer
     strong integrity check. Known hashing algorithms are the 25 compares the user's authentication information it receives
     Secure Hash Algorithm (SHA-1) and the Message Digest 5 with the user's authentication information it stores, and if the
     (MD-5) algorithm, and new algorithms appear from time to information matches, the user is logged on to the second
     time. Information is typically digitally signed by hashing the computer.
     information, encrypting the resulting hash using the signer's              Other logon methods and systems are described in U.S.
     private key, and appending the encrypted hash to the infor- 30 Pat. No. 5,655,077 to Jones et al. for “Method and System for
     mation. Thus, digital signatures are generated in a manner Authenticating Access to Heterogeneous Computing Ser
     like PKC, but the keys are reversed: the encryption key is vices”; U.S. Pat. No. 5,689,638 to Sadovsky for “Method for
     private and the decryption key is public; the digital signer Providing Access to Independent Network Resources by
     signs information with the private key and a user can read the Establishing Connection Using an Application Programming
     digital signature with the signer's public key. Since a digital 35 Interface Function Call Without Prompting the User for
     signature is a non-forgeable data element attached or allo Authentication Data”; U.S. Pat. No. 5,768,504 to Kells et al.
     cated to information that ties the signer to the information, the for “Method and Apparatus for a System Wide Logan sic in
     digital signature yields an authentication check. It will be a Distributed Computing Environment”; U.S. Pat. No. 5,774,
     appreciated that a digital signature differs from a holographic,        650 to Chapman et al. for “Control of Access to a Networked
     or handwritten, signature and from a digitized holographic 40 System”; U.S. Pat. No. 5,884,312 to Dustanet al. for “System
     signature, which is a handwritten signature that has been and Method for Securely Accessing Information from Dis
     captured electronically.                                                parate DataSources through a Network'; and U.S. Pat. No.
        The uses of digital signatures typically involve uses of 6,178,511 to Cohen et al. for “Coordinating User Target
     authentication certificates, which are non-forgeable, digitally Logons in a Single Sign-On (SSO) Environment'.
     signed data elements that bind the signers' identity informa- 45 The problems with systems like that shown in FIG. 1 are
     tion to the signers’ public-key information. Authentication keenly felt in many computer and communication systems,
     certificates have been standardized by the International Tele including as just one example those employed in electronic
     communications Union (ITU) under International Standard commerce. As paper documents that have traditionally
     X.509, as documented in “The Directory-Authentication recorded transactions, such as the purchase of an object, the
     Framework” (1988) and as interpreted by the Internet Engi- 50 withdrawal of bank funds, or the execution of a contract, are
     neering Task Force Public Key Infrastructure X.509 recom replaced by electronic records, serious issues of physical
     mendations. An authentication certificate is digitally signed control of the electronic records and access to them are raised.
     and issued by a Certification Authority that is responsible for Systems and methods for providing a verifiable chain of
     ensuring the unique identification of all users. Each authen evidence and security for the transfer and retrieval of elec
     tication certificate typically includes the following critical 55 tronic records and other information objects in digital formats
     information needed in the signing and Verification processes:           have been described in U.S. Pat. Nos. 5,615,268; 5,748,738:
     a certificate version number, a serial number, identification of and 6.237,096; all to Bisbee et al., and U.S. patent. applica
     the Certification Authority that issued the certificate, identi tions. Ser. No. 09/452,928, filed on Dec. 2, 1999, and U.S.
     fications of the issuer's hash and digital signature algorithms, patent application Ser. No. 09/737,325, filed on Dec. 14,
     a validity period, a unique identification of the user who owns 60 2000, both by Bisbee et al. These patents and applications are
     the certificate, and the user's public cryptographic signature expressly incorporated here by reference, and describe
     Verification key. A signer's authentication certificate may be among other things flexible business rules that enable users to
     appended to information to be protected with the user's digi have roles that are required or enabled only at particular
     tal signature so that it is possible for others to verify the digital points in a transaction or process. For example, a user may
     signature.                                                           65 have a role of title agent only after a transaction has closed.
        Single-logon methods have been implemented in which a                   Such work flows and processes can be more complex than
     logon component returns a “cookie' or token to a client those typically associated with single-logon techniques.



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     Moreover, many electronic records available to online inquiry        user to the processing system and the password and at least
     are neither encrypted, nor hashed, nor digitally signed since        one of a user identifier, an organization identifier, a Sub
     to do so increases the processing time and resources needed          organization identifier, a user location, a user role, and a user
     for authorized users to access such information.                     position provided by the user to the logon component.
                               SUMMARY                                       The security context may include a plaintext header and an
                                                                          encrypted body, and the plaintext header may include a secu
        This invention solves the above-described and other prob rity context ID, a key handle, and an algorithm identifier and
     lems Suffered by computer and communication systems hav key size. The encrypted body may include at least one of a
     ing restricted access, providing methods and systems for pro 10 user identifier, an organization identifier, access information,
     viding secure access to information in an on-line, networked an expiration time, public key information, symmetric key
     environment in which traditional methods of verification,            information, and a hash, and access to the resource may be
     integrity, and authentication are generally inapplicable or denied if the expiration time differs from a selected time. The
     ineffective. Important features of the invention involve an
     encrypted data element called a security context, which is 15 access         information may specify at least one resource acces
     securely built and accessible only by a trusted computing sible by the user; the expiration time specifies a time after
     environment, thereby eliminating the risk of interception, which the security context is invalid; and the hash is com
     modification, or unauthorized use.                                   puted over the plaintext header and the encrypted body before
        In one aspect of the invention, a security context is built encryption, and may be digitally signed by the logon compo
     from a user's logon information and from system authoriza            nent.
     tion information that define the user's access rights to pro            The method may further include the step of determining,
     tected on-line applications and electronic information. The by a stateless component of the processing system, based on
     security context is hashed and encrypted to protect the
     included logon and access information from theft and misuse. the         security context sent with the request for access by the
     Following a successful logon that establishes a respective 25 user, whether access to the requested resource should be
     security context, the user may seek access to applications, granted to the user. The request for access may be at least
     transactions, and records without having to re-logon and partially encrypted with a symmetric encryption key
     without having to re-access a logon rules database. This does extracted from the security context. A hash value may be
     not preclude the user from requesting a new security context computed over the request for access and be included with the
     if necessitated by a change in either the user's role in a 30 security context and the request for access sent by the user to
     transaction or the type of transaction. A user's level of access the processing system, with the integrity of the request for
     can be controlled by a plurality of identifiers, such as the access being checked based on the hash value, and access
     user's logon ID, the user's organization ID and Sub-organi being granted only if the integrity of the hash value is verified.
     zation ID's, and the user's particular role or credentials within A request counter may be included in the request for access,
     the organization. System resources protected in accordance 35 and         if access is granted, a response is sent to the user that
     with this invention are not limited to electronic records and
     computer-directed applications and transactions but also response atorequest
                                                                          includes             counter, enabling the user to match the
                                                                                       the request for access. A response can also be an
     extend to secured equipment, such as facsimile machines and acknowledgement              of an action performed (e.g., creation of a
     certified printers.
        In another aspect of the invention, a method of enabling       40
                                                                          “certified’ printout of a record).
     access to a resource of a processing system includes the steps          In another aspect of the invention, a processing system
     of establishing a secure communication session between a having resources, such as processors, program objects, and
     user desiring access and a logon component of the processing records, that are selectively accessible to users includes a
     system; verifying that logon information, provided by the communication device through which a user desiring access
     user to the logon component during the secure communica 45 to a resource communicates sends and receives information in
     tion session, matches stored information identifying the user a secure communication session with the processing system;
     to the processing system; generating a security context from an information database that stores information identifying
     the logon information and authorization information that is users to the processing system and authorization information
     necessary for access to the resource; providing the security that identifies resources accessible to users and that is neces
     context to the user; and sending, by the user to the processing 50 sary for access to resources; and a logon component that
     system, the security context and a request for access to the communicates with the communication device and with the
     resource. The resource may be at least one of a processor, a information database, wherein the logon component receives
     program object, and a record of the processing system, and
     the logon component may provide a symmetric encryption logon                 information provided by the user during the secure
     key to the user in establishing the secure communication 55 tion by matchingsession,
                                                                          communication              Verifies the received logon informa
                                                                                             against information identifying the user to
     session. The user may digitally sign the request for access, the the processing system       that is retrieved from the information
     user's digital signature may be included with the request for
     access in a wrapper that is sent with the security context to the    database,  and generates  a security context from the received
     processing system, the user's digital signature may be logon information and authorization information. The logon
     checked by the processing system, and access to the resource 60 component provides the security context to the user's com
     may be granted only if the user's digital signature is authen munication device, and the user sends, to the processing
     ticated.                                                             system, the security context and a request for access to a
        The logon information may include a password and at least resource. The processing system may further include a cryp
     one of a user identifier, an organization identifier, a Sub tographic accelerator, and the logon component may receive
     organization identifier, a user location, a user role, and a user 65 a symmetric encryption key from the cryptographic accelera
     position. The logon information may be verified by checking tor and provides the symmetric encryption key to the user's
     for agreement between the stored information identifying the communication device.



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       Other aspects of the invention are described below.               The TCE is so named because it includes the elements nec
                                                                         essary for authenticated access to the transactions offered
           BRIEF DESCRIPTION OF THE DRAWINGS                             through the application server 232.
                                                                            Many of the components for enrolling a user as depicted in
        These and other objects and advantages of this invention FIG. 2 have additional important functions. In particular,
     will become more apparent from the following description, enrollment information solicited by the system administrator
     read in conjunction with the drawings, of which:                    and provided by a known authority to uniquely identify the
        FIG. 1 is a block diagram of user authentication in existing user to the TCE 230 is extensive. For example, the enrollment
     processing Systems:                                                 information preferably includes organization name, organi
        FIG. 2 is a block diagram of user enrollment in a system in 10 Zation ID, role, and optionally, location and multiple Sub
     accordance with this invention;                                     organization names and IDs. The known authority may typi
        FIG.3 is a block diagram of user authentication in a system cally be associated with a sponsoring organization or other
     in accordance with this invention;                                  entity that endorses the user's access to secured system
        FIG. 4a is a diagram of a security context in accordance resources and is known to the system 230. While the known
     with this invention;                                             15 authority or sponsoring organization generally provides the
        FIG. 4b is a diagram of a plaintext header of a security user's enrollment information to the system 230, the user may
     context;                                                            also provide the information.
        FIG. 4c is a diagram of a body of a security context;               The logon component 234 examines all received enroll
        FIG. 5 is a block diagram of a user interacting with a ment information for compliance with rules and requirements
     secured client application in a system in accordance with this maintained in the rules database 236, which must be protected
     invention;                                                          storage to ensure the integrity of the identification and autho
        FIG. 6a is a diagram of a security context associated with rization information it maintains. Any received enrollment
     a user request or Submission;                                       information that is not in compliance preferably causes a
        FIG. 6b is a diagram of a security context associated with message to be displayed or other indication to be given to the
     a user requestin which a time parameterand a request counter 25 information Submitter to prompt Submission of correct infor
     are additional authentication factors;                              mation. In general, the rules database 236 may be initialized
        FIG. 7 is a diagram of the system response to a user request with user authorization and attribute information in the form
     or Submission; and                                                  of data, flags, algorithms, business rules, etc. With this infor
        FIG. 8 illustrates methods in accordance with the inven          mation, as will be discussed more thoroughly below, the
     tion.                                                            30 system can provide varying levels of authorized access to
                                                                         system resources, depending on the particular organization or
                      DETAILED DESCRIPTION                               sub-organization the user represents and the role the user
                                                                         plays in accessing particular transactions and/or records.
        It will be appreciated that Applicants invention can be             As with conventional systems, the enrollment information
     implemented utilizing commercially available computer sys 35 obtained by the system administrator is passed to the logon
     tems and technology, and since the details of Such are well component 234, which instead of merely storing a password
     known to those of skill in the art, they will not be described in in the rules database 236, first processes the password through
     this application.                                                   a Suitable protective method or device such as a hashing
        In using secure transaction processing systems, even in a algorithm and stores the hashed password in the rules data
     system Such as that depicted in FIG. 1, a system administrator 40 base Such that it is associated, or linked, to the particular user
     usually must enroll a user with the system by entering iden by the user's logon ID and optionally by the user's organiza
     tification, authorization, and attribute information that           tion ID. The logon component 234 then forwards the
     uniquely describe the user to the system. This is depicted in unhashed (plaintext) password to the user through any of the
     FIG. 2, which shows a user's enrollment information being secure communication channels discussed above. After a user
     provided by a known authority 210 to a system administrator 45 has been enrolled by the system 230 and has received a
     220, which enters the enrollment information into a trusted         password, the user can access system applications, compo
     computing environment (TCE) 230. Entered information nents, transactions, and records, but only after the user is
     may include such items as the user's name, user identification authenticated as having authority to access the secured
     (ID), organization name, organization ID, and location.               SOUCS.
        The enrollment information is typically provided to an 50 FIG. 3 is a block diagram depicting user authentication in
     interface device Such as an application server component 232 accordance with an aspect of this invention. After a User 310
     that communicates with a logon component 234 of the TCE invokes a protected Client Application 320, whether via a
     230. The logon component 234 or an equivalent device gen direct connection to a TCE 330 or via an Internet browser,
     erates a password for the user and securely stores the pass control passes automatically from the user-invoked applica
     word in a protected rules database 236. Since password gen 55 tion via an Application Server 332 to a Logon Component 334
     eration and protection is often processing intensive, the TCE to attempt authentication of the User 310 through the
     230 may include a suitable cryptographic accelerator 238 or exchange of secured logon information. As indicated in FIG.
     other special-purpose processor that implements the crypto 3, the Client Application 320 may execute in a suitable com
     graphic algorithms used for generating and checking pass puter or terminal having a Cryptographic Token as described
     words and for other operations. The password is securely 60 above in connection with FIG.1. One function of the Logon
     delivered to the user via the application server 232 and an Component 334 is generating a private/public encryption key
     approved courier 240. The approved courier 240 may be a pair at pre-selected time intervals for use in creating secret
     traditional overnight service, such as Federal Express, that symmetric sessions between the User 310 and the Logon
     delivers the password in physical form, or an e-mail server or Component 334. Rather than being generated by the Logon
     a facsimile machine that delivers the password electronically. 65 Component 334 alone, the key pairs may advantageously be
     The user receives the password (block 250) and must present generated in cooperation with an otherwise conventional
     the password to the TCE system 230 before access is granted. Cryptographic Accelerator 338, in which case “handles'



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     associated with the private key and public key of a key pair are       The Logon Component 334 decrypts the user-entered
     provided to the Logon Component 334 for convenience of logon information if necessary, using the Application Server
     processing.                                                         side symmetric key and the Cryptographic Accelerator 338,
        In these secret symmetric sessions, encrypted logon infor and compares the logon information to the authorization
     mation is exchanged and passwords are validated as more information in the Rules Database 336, as linked by the
     thoroughly discussed below. Encryption helps to secure the entered user logon ID. The hash of the password entered by
     integrity of the information exchanged between the User 310 the User 310 is compared to the hashed password stored in the
     and the Logon Component 334 during the logon process and secured storage of the Rules Database 336, also as linked by,
     to minimize the possibility that any of the logon information or related to, the entered user logon ID to determine that the
     can be intercepted and used for unauthorized access to system 10 two hashes match. If any of the identification and authentica
     resources. By generating and utilizing the encryption keys tion information submitted by the User 310 is in error or fails
     internally, the system 330 precludes external, unauthorized to match the data or rules in the Rules Database 336, the User
     access to the keys.                                                 310 is challenged by the Logon Component 334 to check and
        The encryption key pair that has been most recently gen resubmit the Users information. After a predetermined num
     erated can be called the “current key pair and is preferably 15 ber of failures, the logon session, and thus the User's access
     allocated to all logon processing until the next key pair is attempt, will be terminated. Such a limit helps prevent a brute
     generated. Key pairs advantageously are usable for respective force password attack. The User 310 may attempt to logon
     limited periods of time, so that an earlier encryption key pair again, but several more sequential repeats of the logon failure,
     persists until it expires.                                          as determined by system security attributes in the Rules Data
        As an alternative to private/public encryption key pairs, the base 336, will lock out the User 310 and will alert a system
     Logon Component 334 can use a known key exchange algo security officer. Alternatively, the Logon Component 334
     rithm/protocol to generate a secret symmetric session encryp may disable the User's logon ID in the Rules Database 336
     tion key. Exemplary algorithms for creating secret symmetric until a system security officer can review the logon failures.
     keys are the Diffie-Hellman algorithm and the Key Exchange             After the User's identification and password information
     algorithm of the NIST. Even so, it is currently preferred to use 25 have been presented and verified, the Logon Component 334
     application server-side authentication employing an X.509 retrieves the User's authorization information from the Rules
     authentication certificate that enables establishment of a          Database 336, as linked by the user's logon ID and condi
     secure socket layer (SSL) session. As yet another alternative, tioned on the user's organization ID(S) and role(s). Authori
     user and server authentication certificates can be used to          zation information may be built at this point based on the
     establish a two-way authenticated SSL session. The advan 30 user's organization ID(S) and role(s) as determined by any
     tage of either SSL approach is its facilitation of the use of the corresponding business rules in the Rules Database. The
     Cryptographic Token and the Cryptographic Accelerator 338 Logon Component 334 then creates a Security Context that
     that relieves both the user and the Application Server 332 conveys the user's identity and other relevant authorization
     processors from the burden of carrying out the cryptographic information necessary to gain access to Application Server
     operations.                                                      35 based system resources, including online transactions and
        After a secret symmetric key is determined by the Logon electronic records. This identity and authentication informa
     Component 334, it is routed to the User 310 to establish a tion is sufficient to qualify the User for the full range of
     secure session, in which encrypted information can be activities needed to carry out those actions and accesses pre
     exchanged by the User 310 and the Logon Component 334. viously authorized for the User.
     The Logon Component 334 then requests logon information 40 Referring now to FIGS. 4a, 4b, and 4c, and initially to FIG.
     from the User 310. In response, the User 310 transmits its 4a, a Security Context is built that comprises a Plaintext
     identity information and the local time (“Client Time') to the Header and a Security Context Body. The Plaintext Header,
     Logon Component 334.                                                shown in more detail in FIG. 4b, comprises a Security Con
        The user's identity information preferably includes its text ID, a Key Handle that permits retrieval of the selected
     logon ID, organization ID, password or shared secret (e.g., a 45 secret symmetric key, and an Algorithm Identifier, including
     personal identification number (PIN), a passphrase, biometric the Key Size of the selected symmetric key. The Security
     information (fingerprint, retina Scan, Voiceprint, etc.)), etc. Context Body, shown in more detail in FIG. 4c, comprises at
     The user's logon ID advantageously becomes the relative least some of user and organization identities; role and access
     basis for accessing user-related authorization information in information: Bypass Flag(s): a Time-Offset information ele
     the Rules Database 336. The organization ID can include a 50 ment (the difference between the User's Current Time and the
     hierarchy of IDs, each representing a sub-organization within TCE’s current time); an Expiration Time information element
     the organization, Such as a subsidiary or a department, to (the time later than which the Security Context is invalid); the
     which the user may be associated. Additionally, the identity User's Public Key Algorithm identifier, Key Size, and Public
     information can include user functional data, Such as the           Key: the Symmetric-Session/Request Key Algorithm identi
     user's role, position, or credentials in the organization. The 55 fier, Key Size, and generated Symmetric Key; a known value
     password provided by the User 310 is typically hashed at the or random number, and a hash or other Suitable check value
     user's side of the exchange prior to transmission to the Logon computed over the Plaintext Header and the Security Context
     Component 334 to provide an additional level of protection Body content. Including the hash value in the Security Con
     against unauthorized capture of the password during trans text Body ensures that the Security Context content cannot be
     mission. Further protection against unauthorized access to 60 modified without detection.
     the user's password may be obtained by encrypting the pass             To eliminate any possibility of forgery or unauthorized
     word, e.g., according to RSA Laboratory's PKC Standards alteration, the Security Context hash may be digitally signed
     (PKCS) #5 Password-Based Cryptography Standard, using by the Logon Component 334. The authentication certificate
     the secret symmetric key received from the Logon Compo of the Logon Component may be made available to all system
     nent 334. The Client Time may also be provided during logon 65 components.
     as an anti-spoof feature which will be described later in this         The Security Context Body is then encrypted using the
     description.                                                        Logon Component-specified symmetric or the generated pri



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      vate key referenced by the respective Key Handle. The Secu         resources, depending, for example, on whether a User is
      rity Context and the symmetric session encryption key con          acting as an owner, manager, agent, etc. These authorizations
     tained therein are then forwarded to the User and retained for      or access permissions are preferably established with suffi
     the period for which the Security Context is valid. In some cient granularity to achieve system and application security
     instances, the Time-Offset and Expiration Time values may policy objectives.
     also be returned to the User, which allows the User to renew           A Time-Offset field is used by the Logon Component 334
     the Security Context prior to its expiration.                       and Stateless System Components 535 to adjust for discrep
         At this point, Security Context building, encryption, and ancies between TCE system (current) time and Client Time,
     placement are completed and communication between the which is the time at the User's computer or browser (see FIG.
     User and the Logon Component are terminated. Transaction 10 6b). This facilitates operation of the Security Context and
     level communication between the User, Client Application, TCE in environments where time synchronization among
     and TCE are re-established.                                         User and system components is not available. This feature can
         Referring to FIG. 5, there is illustrated an embodiment of compensate when a components internal clock is otherwise
     this invention in which a User 510 seeks access to protected stable and within normal tolerances.
     applications (program objects) and records available from the 15 An Expiration Timefield identifies the time of expiration of
     TCE 530 via a Client Application 520 and Cryptographic the Security Context, placing an upper limit on the life of the
     Token. As can be seen from FIG. 5, the TCE 530 includes             Security Context. This is enforced by the Stateless System
     Stateless System Components 535 that are Application Components 535 and can be used by Users to renew their
     Server-side program objects that are instantiated to satisfy Security Contexts. An Expiration Time is also associated with
     user requests for processing or information. The term "state every Security Context encryption key. Exceeding the Expi
     less indicates that no request history is retained and the ration-Time value forces the Logon Component 334 to create
     authentication methods of the system are independent of the a new Security Context encryption key. In this way, the num
     particular state, or application/transaction/routine, being ber of Security Contexts that are protected by a given key and
     invoked.                                                            uses thereof can be limited. The Security Context encryption
         The Stateless Components 535 may be considered as exist 25 keys are deleted on the Application Server-side after the Expi
     ing at an “industry level” or at a “core level. Core-level ration-Time value is exceeded, and thus Subsequent attempts
     components are reusable program objects that are industry to access transactions or records using Security Contexts with
     independent and thus will be understood as those components outdated encryption keys fail. Either symmetric or asymmet
     that are typically at the heart of any processing system. Thus,     ric encryption may be employed.
     core-level components are used by all users of the TCE. The 30 The Logon Component 334 may also establisha maximum
     strongest security enforcement is found at the core level count for the number of times a particular Security Context
     where access restrictions can be enforced broadly. Industry encryption key is used. When the count in a Request Counter
     level components are also reusable program objects but are field (see FIG. 6b) exceeds this pre-established threshold, the
     industry-dependent. Thus, industry-level components are Logon Component 334 may be asked to create a new Security
     used by only a subset of all users of the TCE, i.e., the subset 35 Context.
     of users that can be categorized as the respective “industry”.         The User Public Key Algorithm field may contain an algo
     It will be appreciated that this description of different levels is rithm ID, key, and/or Authentication Certificate. The public
     merely for organizational convenience and that one or more key pair may be generated by the Logon Component 334 or
     levels may be employed.                                             the Client Application, or created in conjunction with the
         It will be understood that the operation of the TCE 530 is 40 issuance of a user's X.509 authentication certificate and pub
     effectively transparent to the User 510, who simply logs onto lic-key pair delivered in a Cryptographic Token. The private
     the system and operates as the User would in an otherwise key is held at the User's location, possibly in a hardware
     conventional distributed processing system. An important Token. The public key is passed to the Logon Component 334
     difference is that a permanent session does not have to be during symmetric session key negotiations or is passed in the
     established between each User 510 and Application Server 45 user's X.509 certificate. To reduce processing overhead, the
     side components in the TCE 530. Application Server-side public key information may be extracted from the X.509
     components can therefore be stateless since all the informa certificate and placed directly in the Security Context.
     tion needed to authenticate a User's request is communicated           Referring again to FIG. 5, with a Security Context having
     in the Security Context that is included in the User's request. been established for each User 510 logging onto the system
     After a Stateless System Component 535 finishes a task, it is 50 530 with a particular logon ID, organization ID, password,
     free to service another User's request.                             and optionally, role identifier, the authority of each User 510
         Referring again to FIG. 4c and also to FIG. 3, the UserID as verified through the Stateless System Components 535 can
     represents the User's logon ID, and the Organization ID rep be determined without having to preserve any user-specific
     resents the organization to which the User belongs. As dis state information and without having to access a rules or
     cussed above, the Organization ID field can be expanded to 55 authorization file. In other words, the Stateless System Com
     include Sub-Organization ID's which represent subsidiary or ponents 535 need not maintain knowledge regarding any
     departmental divisions under a primary organization. One particular active User 510 or invoked Stateless System Com
     advantage of this is that a single User, who may be affiliated ponent 535. All such knowledge is passed in the encrypted
     with multiple organizations, Subsidiaries, and/or depart            Security Contexts. In this way, a plurality of stateless system
     ments, can have different levels of access authorized as a 60 components can be instantiated simultaneously and/or on an
     function of the particular organization or group that the User as-needed basis and transaction and information routing
     is representing at the time of logon. Similarly, the Roles,         restrictions can be removed, since each Security Context/
     Credentials, and Other Authorization Information field com          User Request is treated independently. Therefore, a plurality
     prise additional levels by which access can be controlled,          of secure digital components may be simultaneously
     depending on who the User is and what role or responsibility 65 accessed merely by forwarding an authenticated user's Secu
     the User is fulfilling at the time of logon. These elements and rity Context to the validation portion of each Stateless System
     rules permit customized access to protected system Component.



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        All Stateless System Components 535 that may be asked to contained in a Security Context header as described above.
     perform some action or to access desired information in The Stateless System Component 535 then enables the Cryp
     response to a User request must be given access to the User's tographic Accelerator 538 to decrypt the Security Context
     Security Context to determine whether the requested action Body and User Request, which make the User's identification
     or access is authorized. Since the Security Context is 5 and access authorization information and the request contents
     encrypted, the Stateless System Components 535 are pro available to the Component.
     vided with the right to use the cryptographic key identified in
     the Plaintext Header to read the contents of a particular Secu of The the
                                                                                Stateless System Component 535 verifies the integrity
                                                                               received  Security Context and User Request by verify
     rity Context, including the Authorization Information, in con ing the respective       hashes and/or the digital signature, if used.
     junction with the set of cryptographic services performed by 10 The     Stateless System Component 535 compares the roles,
     the Cryptographic Accelerator 538. In addition to implement
     ing controls to limit User access to protected Components, credentials,            and authorization information from the
                                                                        decrypted Security Context Body with the User Request. If
     this invention may also be applied to automatically authenti there
     cate action and access requests between Stateless System and theis Request,  a mismatch between the authorization information
                                                                                           the access attempt fails and the User 510 is
     Components 535.                                                 15
        Following successful creation of a Security Context for a so notified, and control is passed back to the User 510 either
     given user logon session, the Security Context can be effec to Submit another Request or to terminate the session. Simi
     tively applied in several ways to control securely and effi larly, if the time of submission is outside the Expiration-Time
     ciently user access to protected program objects and records. window for the Security Context, then the access attempt
     As illustrated by FIGS. 5 and 6a, a User appends its User fails.         If insufficient information exists in the Security Context
     Request or Submission to the encrypted Security Context it authorization information field, the Stateless System Compo
     has received in order to provide a secure access instruction/ nent       535 may access the Rules Database 536 for additional
     authorization to the Application Server 532 and Stateless information.             If insufficient information still exists after
     System Components 535 to fulfill the User's Request. Refer accessing           the Rules Database 536, the access request fails,
     ring to FIG. 6a, a User Request, which may be directed to an 25 and     the User 510 is so notified. If the access verification
     action request, transaction access request, or record access ponents has
                                                                        process       been successful, then the Stateless System Com
                                                                                  535 are permitted to proceed with fulfilling the user
     request, among other things, is appended to the encrypted
     Security Context and forwarded through the Application request,              with a response ultimately being directed back to the
     Server 532 to the appropriate Stateless System Component USer S10.
     535. Alternatively, the User Request may be a data submis 30 As illustrated by FIG. 6b, Client Time and Request Counter
     sion to modify or replace an existing protected record.            fields may be included in the Security Context/User Request
        It will be appreciated that the User Request or Submission data stream. The Client Time represents the time at the Users
     depicted in FIGS. 5, 6a, and 6b, and for that matter substan computer, terminal, or other system access device. The User
     tially any of the communications described or necessitated by may be given the option of comparing Client Time, as
     this description, can be enclosed in a "wrapper, which is a 35 adjusted by a Time-Offset value, to the Expiration-Time
     kind of envelope that is used to securely hold and associate limit. If the adjusted Client Time exceeds the Expiration
     digitized handwritten and cryptographic digital signatures Time, the User then knows that any authorization and access
     with part or all of one or more electronic information objects requests will fail, and the User can efficiently logoff and log
     or data contained in the wrapper. Wrappers may take the form back on or otherwise initiate a new session, thereby creating
     of any open standard enveloping or information object (docu 40 a new Security Context with a new Expiration Time. If the
     ment) formatting schemas, and generally a wrapper is a data User (Client Application) is not enabled to perform this
     structure containing tags that permit locating and extracting check, rejection of any and all requests, termination of the
     information fields contained in the wrapper. Two examples session, or a direct alert will force the User to create a new
     are RSA Laboratories PKCS #7 and the World Wide Web                Security Context.
     Consortium (W3C) Extensible Markup Language (XML) 45 The Request Counter field is typically initialized at Zero at
     Signature Syntax and Processing Draft Recommendation, the creation of the Security Context and is incremented each
     although any record format Supporting inclusion of digital time a User Request with this particular Security Context is
     signatures with content may be used, including, but not lim directed to the Stateless System Components 535. In this way,
     ited to, S/MIME, XFDL, HTML, and XHTML, which pro use of the Security Context can be limited, with the User
     vide Support for signature syntax, processing and positioning 50 being denied access should the Request Counter exceed a
     (tags). The PKCS #7 standard supports Zero, one, and mul predetermined maximum. It will be appreciated that decre
     tiple parallel and serial digital signatures (cosign and coun menting Request Counters can also be used. Additionally, the
     tersign) and authenticated and unauthenticated attributes that Request Counter may be used to match Requests with System
     are associated with the signatures. Information elements that Component responses when responses are returned asynchro
     may be contained in wrappers include algorithm identifiers, 55 nously (out of chronological order). Thus, a request counteris
     key size for each algorithm, content, and signatures, and included in the request for access, and if access is granted, a
     wrappers can be applied recursively, which simply means that response is sent to the user that includes the request counter,
     wrappers can be contained within wrappers.                         which the user uses to match the response, which may be an
        Upon receipt of a Security Context/User Request, a State acknowledgement of an action performed (e.g., creation of a
     less System Component 535 directs the decryption of the 60 “certified’ printout of a record), to the request. Finally, the
     Security Context. The Stateless System Component 535 first Request Counter can prevent “replay attacks, in which a
     uses the Plaintext Header Key Handle and Algorithm Identi hacker intercepts a User Request or Component Response
     fier information to identify the corresponding cached decryp and falsely presents the Request for access to a protected
     tion key to the Cryptographic Accelerator 538. A number of transaction or record or replays the Response to create net
     active symmetric and asymmetric encryption and decryption 65 work and system congestion. The system 530 and client
     keys are held in protected storage by the Cryptographic application 520 both recognize when the Request Counter in
     Accelerator 538, and each is referenced by a unique handle the Security Context/User Request data stream is out of syn



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     chronization with previous Requests and reject the false passed to the User/Client Application during the secure Secu
     Request. Alternatively, Client Time (FIG. 6b) can also be used rity Context setup session. It will be appreciated that both
     to prevent replay attacks.                                      trusted and untrusted Stateless System Components can be
        In another embodiment, the User Request portion of the used by layering the methods described here, increasing bit
     secured Security Context/User Request stream depicted in overhead as needed to achieve an appropriate level of protec
     FIGS. 6a, 6b may be encrypted prior to being passed to the tion.
     Stateless System Components 535, utilizing the symmetric           Application of the methods described above is illustrated
     key or the public key held by the User and disclosed in the by FIG. 8, although it will be understood that not all of the
     Security Context. Encryption of all or part of the User features described above are included.
     Request additionally protects against an outsider threat or 10 In block 802, a system administrator is instructed by an
     disclosure of sensitive information. Since the encryption key authorized source to enroll a user, whose identification and
     is internally selected within the Logon Component 334 and authorization information is entered into a system enrollment
     passed internally to the User within the Security Context or database. The user is assigned a user ID and preferably an
     within a secure session with a login component, and because organization ID that uniquely identifies the user to the system,
     each encryption key has a limited life by application of the 15 although it will be understood that other means of uniquely
     Expiration-Time feature, outsider access to a User Request identifying users may be employed.
     for unauthorized use is substantially impossible. Upon             Block 804 indicates that three password methods may be
     receipt of the User Request, the cached decryption key is Supported:          initialize (requiring the system administrators
     identified by the Stateless System Component 535 and used password); check (requiring the logon component's pass
     to decrypt the Request.                                         word); and change (requiring a user's current password).
        In another embodiment, all or part of a User Request may During enrollment, a default password may be created and
     be hashed prior to being forwarded to the Stateless System assigned to the user. The hash of the default password is
     Component 535, with the hash value being appended to the associated with the user's unique identity and saved in pro
     User Request. The Stateless System Component 535 would tected           Storage. The plaintext password is made available to
     then hash the received User Request and compare its result 25 the system administrator, who arranges for its delivery to the
     with the hash value appended to the User Request. If the two user, preferably using an out-of-band means, such as an
     hash values match, the system can be reasonably assured that approved courier. The logon component facilitates the user's
     the User Request has not been modified. If the two hash changing its default password to one that is more memorable.
     values do not match, the User-side application can be
     instructed to re-send the Security Context/User Request/Hash 30 A  new password can be issued if the user forgets its password
                                                                     or believes its password may have been compromised or from
     data stream, or a message can be sent to the User advising that time to time.
     receipt of a corrupt Request resulted in failure prior to the      In block 806, a private key is used by the systems logon
     request authorization process.                                  component to protect security contexts. A new PKC pair is
        In yet another embodiment, a digital signature can be generated
     applied to all or part of the Security Context/User Request 35 or industry.at Suitable  intervals, which may vary by application
                                                                                     The most recently generated key pair can be
     data, with the digital signature being verified upon receipt by called the current
     the Stateless System Components 535. Upon verification or generated by any key           pair, and key pairs may conveniently be
                                                                                          suitable hardware cryptographic accelera
     non-verification, the Stateless System Components 535 pro tor. The handles of            the private key and public key of the
     ceed as described above in connection with Request valida current key pair are made           available to the logon component.
     tion. Both the hashing and digital signature features help 40 The
     prevent middleman and Substitution attacks on the access Priorprivate          key is accessible only to the logon component.
                                                                            (non-current) key pairs persist until their respective
     authorization process.
        In yet another embodiment of the invention, encryption and expiration     times are reached. This overlap is chosen to be
     hashing of the User Request are combined to provide a request newlong
                                                                     sufficiently        as to minimize the need for Users to have to
                                                                                     Security Contexts. The logon component uses
     secure, non-forgeable session for the authorized access of 45 only the current     key pair.
     transactions and records.
        FIG. 7 depicts a response to a User 510 by protected State      In block 808, the public key handle is shared with trusted
     less System Components 535. The response may be transmit stateless system components that, as trusted components,
     ted to the User in plaintext, relying on the integrity of the must be implemented in a protected operating environment.
     session encryption, or the response may be encrypted using 50 Access to a trusted system component is granted by the logon
     the secretencryption key embedded within the Security Con components sharing the current public key handle and the
     text and held by the User. As discussed above, the User address          of the cryptographic accelerator with the component.
     advantageously utilizes the Request Counter field to match Access by any other component is blocked, for example by a
     the response received from the system 530 with its User Software or hardware firewall. Any such components require
     Request. This is particularly important when responses are 55 a Security Context to access system resources.
     returned asynchronously (out of order). Such as when the           In block 810, the first occurrence of a user's needing access
     Components 535 process multiple requests and when the to system resources (components) requires the user, through
     User Submits multiple access requests across a plurality of its client application, to initiate a communications session
     Application Servers 532.                                        with the logon component. An SSL session is preferably
       It should be understood that a User does not have access 60 invoked.
     either to the Security Context encryption key or to the con     In block 812, if an SSL encrypted session is not used, the
     tents of the Security Context. Only the Logon Component and user's client application engages in an exchange with the
     Stateless System Components have such access. Use of a logon component that results in a symmetric-session encryp
     digital signature by the Logon Component prevents modifi tion key existing at both the client application and the logon
     cation by any component, enabling the Security Contexts 65 component. This symmetric-session encryption key is the
     content to be trusted. The User Request encryption key, Time basis of subsequent secure communications between the user
     Offset, and other relevant information needed by the User are and the system and authentication with all trusted Stateless



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     system components. The symmetric-session encryption key               In block 820, the user/client application may submit
     may be used to encrypt user service requests.                      requests to trusted Stateless system components using the SC
        In block 814, the user presents its credentials to the logon returned to the user/client by the logon component. The client
     component, which asks the user to enterits unique identifying does so by appending a request to the SC. Two examples of
     information and password. At this point, the user may be SC-request combinations follow:
     given an opportunity to change its password, either its default        SC Header, {SC body 3 Private-currend {Client
     password generated at enrollment or its current password.                time symmetric-session Request
     System security policy typically dictates how often a user             SC Header, {SC body}{Client time,
     must change its password.                                                Request, Hash}symmetric-session)
        In the following description, the logon information is 10 statelessIn block 822, the SC and request are verified by any trusted
     encrypted using a session-symmetric key, although as noted enced by system     Handle,
                                                                                           component by using the stored key refer
                                                                                                         to decrypt the SC body, then
     above an SSL session could be used. The user's client appli extracting and using the symmetric-session
     cation forwards the user-entered information to the logon encrypted portion of the Request, validatingkey             to decrypt the
                                                                                                                        the Request by at
     component using a predefined self parsing data structure Such 15 least checking that system time=Client TimetDelta             Time,
     as the following, in which { } indicate an encrypted value, and further verifying the request by validating a hash and/or
     Subscript identifies a key, and indicate plaintext:                client digital signature if used.
                                                                           In block 824, if the SC and Request are successfully vali
                                                                        dated, then the stateless system component uses the content of
                     User ID,                                           the SC and Request to perform the requested actions. In this
                     Organization ID,                                   way, the stateless system component may act as a trusted
                      {Password,                                        proxy for the user/client. The result of the request, if fulfilled,
                          Client Time}synnetric-session                 is returned to the user/client application. If desired, the result
                                                                        may be encrypted using the symmetric-session key.
                                                                     25    It will be understood that these methods and systems are
     To change a user's password, the client application forwards effectively        transparent to a user, who simply logs on to the
     the user-entered information using a data structure Such as the system and operates as the user would in a conventional
     following:                                                         distributed system. An important difference is that a perma
                                                                           nent session does not have to be established between the
                                                                      30   user/client application and server-side components, which
             User ID,                                                      can be stateless since all the information needed to authenti
             Organization ID,                                           cate a user's request is communicated in an non-forgeable
             {Password,                                                 security context. After a stateless system component finishes
                 New Password, New Password Confirmation,
                 Client Time}synnetric-session                          its task, it is free to service another user request. Additional
                                                                     35 request capacity may be obtained by simply adding applica
                                                                        tion servers and/or instantiating stateless system components
        In block 816, the logon component decrypts the Password (program objects). These additions will also be totally trans
     (s) and Client Time using the symmetric-session key and parent to client applications.
     computes a Delta Time value, which is the difference between          Although preferred embodiments of the present invention
     the Client Time and the system time of the core server. The 40 have been shown and described, it will be appreciated by
     user's Password is then hashed according to an algorithm those skilled in the art that changes may be made in these
     such as SHA-1 and compared to a hash value stored in the embodiments without departing from the principle and spirit
     system database. If the hashes match, the user's Password is of the invention, the scope of which is defined in the appended
     validated, and if a change of Password is requested, the logon claims and their equivalents.
     component initiates the Password change procedure. If Pass 45 What is claimed is:
     word validation fails, the user may be given one or more
     chances to Submit a correct Password, as specified by System          1. A method of enabling access to a resource of a distrib
     security policy, before being locked out of the system.            uted application server or processing system by a user/client
        In block 818, after successful user/client logon, the logon application        possessing a valid security-context, comprising
     component builds and returns to the user/client a Security 50 thereceiving
                                                                             steps of:
                                                                                       the security-context and an appended protected
     Context(SC) that preferably includes the following elements:              security-context renewal request provided by the user to
                                                                              an access authorization component of the application
                                                                               server or processing system;
         SC = | SCID,                           Plain Text SC Header 55    verifying the validity of the security-context and the secu
                  AlgorithmIDublic-current                                    rity-context renewal request;
                  KeySizepublic-current                                    extracting content of both the security-context and the
                  Handlepublic-currentl+
              {User ID,                         Encrypted SC body              security-context renewal request;
                  Org ID,                                                  comparing current time to an expiration time identifying
                  Authorizations,                                    60       time of expiration of the security-context;
                  Bypass Flag(s)
                  Expiration Time,                                         if the expiration time is less than the current time, compar
                  Delta Time,                                                 ing the Security-context renewal request with stored
                  AlgorithmIDsynnetric-session:                               identity and authorization information comprising at
                  KeySizesynnetric-session:
                  Keysymmetric-session s                                      least one of a user identifier, an organization identifier, a
                  Hash3 Prigae-eare                                  65        Sub-organization identifier, a key, an authentication cer
                                                                              tificate, an user location, a user role, and an user position
                                                                              identifying the user to the access authorization compo



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           nent and generating a new symmetric key, and other             7. The method of claim 6, wherein the request for access is
           access and authorization information;                       at least partially encrypted with the symmetric key extracted
        generating an updated security-context based on the veri from the security-context, whereby the receiving resource is
           fying of the user's identity and authorization and based allowed to access this same symmetric key to decrypt the
           on the user having requested authority for access to the request and later to at least partially encrypt the response
           resource and services;                                      when required.
        providing the updated security context to the user, and           8. The method of claim 6, whereinahash value is computed
        sending the updated security-context and a request for over the request for access, the hash value being included with
           access to the resource and services by the user to the the security-context and the request for access sent by the user
           application server or processing system.                 10 to the distributed application server or processing system, and
        2. The method of claim 1, wherein a resource identified in     wherein integrity of the request for access is verified based on
     the security-context renewal request is at least one of a pro the hash value and access is granted only if the integrity of the
     cessor, a program object, and a record of the distributed hash value is verified.
     application server or processing system, and wherein compo           9. The method of claim 8, wherein the user digitally signs
     nents of the distributed application server or processing sys 15 the request for access, the user's public key is being included
     tem are accessible by an user presenting a valid security with the security-context and the request for access sent by
     context that contains the required information for the user to the distributed application server or processing
     authentication.                                                   system, and wherein the user's digital signature is verified by
        3. The method of claim 1, wherein the access authorization the application server or processing system using the user's
     component provides a symmetric encryption key to the user public-key extracted from the security-context, access to the
     in a security-context that is used to protect each asynchronous resource being granted only if the user's digital signature is
     request and resulting response exchanged between the user authenticated.
     and the distributed application server or processing system.         10. The method of claim 9, wherein the security-context
        4. The method of claim 1, wherein the protected security and request for access and services are included in a wrapper
     context eliminates the need to establish a secure communica 25 in which together with the digitally signed request enables
     tion session between a user desiring access and the computing detection of any unauthorized modification.
     resource servicing the request by providing information used         11. The method of claim 6, further comprising the step of:
     in authenticating and processing the security-context and the        after access to the requested resource or service is granted,
     request, and wherein the request is to renew or change the              sending a response to the user that includes a request
     security-context made to the access authorization component 30          counter that enables the user to match the responses to
     or to access services or resources made to a stateless system           the request for access due to more than one distributed
     component of the distributed processing system.                         resource being able to fulfill the request.
        5. The method of claim 4, wherein the stateless resource           12. The method of claim 1, wherein at least one of a client
      receiving the request for access or service verifies the user's time and a request counter is sent by the user to the distributed
      identity information and authorization information included 35 application server or processing system with the security
      in the accompanying security-context, verification including context and the request for access to the resource to enable the
      checking for agreement with the stored authorization infor server or system to discard any unauthorized replay of
      mation.                                                         requests that would reduce resource availability.
         6. The method of claim 5, further comprising the step of:       13. The method of claim 12, wherein the request counter is
         determining, by a stateless component of the processing 40 sent by the user and access to the resource is denied if the
            system, based on the security-context sent with the request counter differs from a predetermined value set by a
            request for access by the user, whether access to the security policy that limits overuse of the security-context.
            requested resource and services should be granted to the
            user and fulfilling the request if authorized.




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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION

 PATENT NO.              7,657,531 B2                                                                                Page 1 of 1
 APPLICATION NO. : 1 1/325463
 DATED                 : February 2, 2010
 INVENTOR(S)           : Bisbee et al.
 It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


          On the Title Page:

          The first or sole Notice should read --



         Subject to any disclaimer, the term of this patent is extended or adjusted under 35 U.S.C. 154(b)
         by 303 days.




                                                                             Signed and Sealed this
                                                                       Thirtieth Day of November, 2010



                                                                                           David J. Kappos
                                                                        Director of the United States Patent and Trademark Office




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